06/10/2008    TUE     9: 0 9   FAX 1 2 1 2 2 6 5 1 7 3 5 MAYERSON a n d A S S O C I A T E S
               Case 1:08-cv-00247-BSJ-FM                      Document 9            Filed 06/11/2008       Page 1 of 1




                                                                                                               June 10,2008

          VIA HAND DELIVERY and FACSIMILE'                                                                              L-
          Honorable Frank Maas, U.S.M.J.                                A?? r o u d , b d Lw                       L     LO

          United States District Court                       &&-          & ~ G & ~ oU
                                                                                     (LL                        =qpoZd
          Southern District of New York
          500 Pearl Street, Room 20.4
          New York, NY 10007-13 12
          Fax: (2 12) 805-6724
                                                            c d C C ) u ~CeA
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                     Re: R.R. and D.R. o/b/o M.R. v. Scarsdale UFSD.

         Dear Judge Maas:

                  As you are aware, we represent the plaintiffs-appellants in the above referenced matter. We
         respectfully ask that your Honor endorse this letter requesting a further 2 week extension of time to allow
         the parties to serve their rcspective motions for modified de novo review. This is plaintiffs-appellants
         third request for such extension. We sincerely apologize for requesting yet another extension, and
         appreciate the court's and opposing counsel's understanding that we make these requests because of the
         impact that the recent loss of two experienced associates has had on our firm.

                  This extension would change the last set deadline from June 16, 2008 to June 30, 2008 and would
         affect the briefing schedule as follows:

                    June 30, 2008--parties' respective motions for modified de novo review2
                    July 30, 2008--parties7 opposing papers
                    August 2 1: 2008--partiesy reply papers

               We have contacted the office of Keane and Beane, P.C., counsel for the defendants, and spoke
        with Ms. Stephanie M. Roebuck, who has consented to this request.

                    Thank you for your consideration in this matter

                                                                                       Sincerely,


                                                                                       Jessica Stein
                                                                                       Legal Intern

        cc:    Eric L. Gordon, Esq. and Stephanie M. Roebuck, Esq. via facsimile at (914) 946-6868

        ' Please note that an original letter was sent earlier via hand delivery and did not indicate the facsimile number.
        '~hesemotions are not truly "summary judgment" motions as the trial has already occurred.
